
ON MOTION FOR REHEARING
COWART, Judge.
Appellant’s Motion for Rehearing is granted. The per curiam affirmance herein dated January 31,1989 is withdrawn and the following opinion is issued:
The defendant’s conviction is affirmed but his sentence is vacated and this cause is remanded to the trial court with instructions to resentence the defendant after the defendant and the state have been given an opportunity to present evidence and argument as to, and the court has determined, the proper guideline scoresheet prior record score for the defendant’s conviction for robbery in the State of Ohio.
SENTENCE VACATED; CAUSE REMANDED.
SHARP, W., C.J., and DANIEL, J., concur.
